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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    Case No:
                                                 :
              v.                                 :
                                                 :    VIOLATIONS:
 JUSTIN MCAULIFFE,                               :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in a
                      Defendant.                 :    Capitol Building)
                                                 :

                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                           COUNT ONE

       On or about January 6, 2021, within the District of Columbia, JUSTIN MCAULIFFE,

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                             Respectfully submitted,

                                             Channing D. Phillips
                                             Acting U.S. Attorney
                                             D.C. Bar No. 415793

                                     By:     /s/ Jacob J. Strain
                                             Jacob J. Strain
                                             Assistant United States Attorney
                                             U.S. Attorney’s Office for District of Columbia
                                             555 4th Street, N.W.
                                             Washington, D.C. 20530
